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                                                                                 2024 Jun-05 PM 02:34
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA

                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                         WESTERN DIVISION

JANE DOE #1, on behalf of herself and all others        )
similarly situated                                      )
                                                        )   CIVIL ACTION NO:
Plaintiffs,                                             )
                                                        )   7:21-cv-00220-LSC
v.                                                      )
                                                        )   Honorable L. Scott
MG FREESITES, LTD, d/b/a “PORNHUB,” et al.,             )   Coogler
                                                        )
Defendants.                                             )

                          MOTION TO WITHDRAW

      The undersigned counsel of record, Brian Dooley Kent, Esquire, moves this

Honorable Court to enter an order permitting him to withdraw as counsel of record

for Plaintiff Jane Doe #1 in the above-captioned matter.

      Plaintiff consents to the filing of this Motion, continues to be represented in

this case by able counsel and will not be prejudiced by the granting of this Motion.

      WHEREFORE, premises considered, the undersigned respectfully request

that this Honorable Court enter an Order granting their withdrawal as counsel of

record in this matter.

       Respectfully submitted this the 5th day of June, 2024.


                                /s/ Brian D. Kent                .
                                Brian Dooley Kent
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                         CERTIFICATE OF SERVICE

      I hereby certify on this 5th day of June, 2024, this document was filed through

the Electronic Case Filing System of the United States District Court for the

Northern District of Alabama and will be served electronically by the court to all

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